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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1051V
                                        UNPUBLISHED


    BARBARA TURNER, as Personal                             Chief Special Master Corcoran
    Representative of the ESTATE OF
    HARRY TURNER,                                           Filed: August 26, 2020

                        Petitioner,                         Special Processing Unit (SPU);
    v.                                                      Ruling on Entitlement; Concession;
                                                            Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                 Guillain-Barre Syndrome (GBS)
    HUMAN SERVICES,

                       Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.

Mark Kim Hellie, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT 1

       On July 22, 2019, Barbara Turner, as Personal Representative of the Estate of
Harry Turner, filed a petition for compensation under the National Vaccine Injury
Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine Act”). Petitioner
alleges that Harry Turner suffered Guillain-Barre Syndrome (“GBS”) as a result of his
influneza (“flu”) vaccination on October 11, 2017. Petition at 1. The case was assigned to
the Special Processing Unit of the Office of Special Masters.



1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       On August 24, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent indicates that

        [m]edical personnel at the Division of Injury Compensation Programs,
        Department of Health and Human Services (“DICP”), have reviewed the
        petition and medical records filed in the case. It is respondent’s position that
        petitioner has satisfied the criteria set forth in the Vaccine Injury Table
        (“Table”) and the Qualifications and Aids to Interpretation (“QAI”). 42 C.F.R.
        §§ 100.3(a)(XIV)(D), 100.3(c)(15).

Id. at 3.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                     s/Brian H. Corcoran
                                     Brian H. Corcoran
                                     Chief Special Master




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